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 7
                        UNITED STATES DISTRICT COURT
 8
                             DISTRICT OF NEVADA
 9                                                -oOo-

10   UNITED STATES OF AMERICA,                     ) Case No.: 2:15-cr-18-APG-VCF
                                                   )
11                   Plaintiff,                    ) STIPULATION FOR PROTECTIVE
                                                   ) ORDER
12           vs.                                   )
                                                   )
13   MARK JONES,                                   )
                                                   )
14                   Defendant.                    )
                                                   )
15                                                 )

16           IT IS HEREBY STIPULATED AND AGREED between the parties, Daniel G. Bogden,

17   United States Attorney for the District of Nevada, Sarah E. Griswold, Assistant United States

18   Attorney, counsel for the United States, and Benjamin Durham, counsel for defendant MARK

19   JONES, that this Court issue an Order protecting from disclosure to the public any discovery

20   documents containing the personal identifying information such as social security numbers,

21   drivers license numbers, dates of birth, or addresses, of participants, witnesses and victims in

22   this case. Such documents shall be referred to hereinafter as “Protected Documents.” The

23   parties state as follows:

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 1          1.      Protected Documents which will be used by the government in its case in chief

 2   include personal identifiers, including social security numbers, drivers license numbers, dates of

 3   birth, and addresses, of participants, witnesses, and victims in this case.

 4          2.      Discovery in this case is voluminous. Many of the documents include personal

 5   identifiers. Redacting the personal identifiers of participants, witnesses, and victims would

 6   prevent the timely disclosure of discovery to defendants.

 7          3.      The United States agrees to provide Protected Documents without redacting the

 8   personal identifiers of participants, witnesses, and victims.

 9          4.      Access to Protected Documents will be restricted to persons authorized by the

10   Court, namely defendant, attorney(s) of record and attorneys’ paralegals, investigators, experts,

11   and secretaries employed by the attorney(s) of record and performing on behalf of defendant.

12          5.      The following restrictions will be placed on defendant, defendant’s attorney(s)

13   and the above-designated individuals unless and until further ordered by the Court. Defendants,

14   defendants’ attorneys and the above-designated individuals shall not:

15               a. make copies for, or allow copies of any kind to be made by any other person of

16                  Protected Documents;

17               b. allow any other person to read Protected Documents; and,

18               c. use Protected Documents for any other purpose other than preparing to defend

19                  against the charges in the Superseding Indictment or any further superseding

20                  indictment arising out of this case.

21          6.      Defendant’s attorney(s) shall inform any person to whom disclosure may be

22   made pursuant to this order of the existence and terms of this Court’s order.

23   ///

24   ///

                                                   2
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 1           7.      The requested restrictions shall not restrict the use or introduction as evidence of

 2   discovery documents containing personal identifying information such as social security

 3   numbers, drivers license numbers, dates of birth, and addresses during the trial of this matter.

 4           8.      Upon conclusion of this action, defendant’s attorney(s) shall return to

 5   government counsel or destroy and certify to government counsel the destruction of all

 6   discovery documents containing personal identifying information such as social security

 7   numbers, drivers license numbers, dates of birth, and addresses within a reasonable time, not to

 8   exceed thirty days after the last appeal is final.

 9   DANIEL G. BOGDEN
     United States Attorney
10

11   /s/ Sarah E. Griswold                                         March 23, 2015
     SARAH E. GRISWOLD                                             DATE
12   Assistant United States Attorney

13

14   /s/ Benjamin Durham                                           March 23, 2015
     BENJAMIN DURHAM                                               DATE
15   Counsel for Mark Jones

16

17                                                  ORDER

18           IT IS SO ORDERED this 24th day of March, 2015.

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20                                                         ____________________________________
                                                           UNITED STATES MAGISTRATE JUDGE
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